
39 So. 3d 561 (2010)
Pamela HOWARD, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and Walmart Associates, Inc., Appellees.
No. 1D10-2455.
District Court of Appeal of Florida, First District.
July 23, 2010.
Pamela Howard, pro se, Appellant.
Geri Atkinson-Hazelton, General Counsel, Tallahassee, for Appellee Florida Unemployment Appeals Commission.
PER CURIAM.
Because the notice of appeal was not filed within 30 days of rendition of the final order as required by Florida Rule of Appellate Procedure 9.110(c), this appeal is hereby dismissed. See First Nat'l Bank in Ft. Myers v. Fla. Unemployment Appeals Comm'n, 461 So. 2d 208 (Fla. 1st DCA 1984) (stating that appellant's failure to file the notice of appeal within the requisite 30-day period is "an irremediable jurisdictional defect.").
WOLF, ROBERTS, and ROWE, JJ., concur.
